         Case 2:13-cr-00085-JAD-PAL             Document 34         Filed 05/13/13   Page 1 of 2



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 2
 3                                   UNITED STATES DISTRICT COURT
 4                                           DISTRICT OF NEVADA
 5
 6   UNITED STATES OF AMERICA,                   )
                                                 )
 7                                 Plaintiff,    )                  Case No. 2:13-cr-00085-MMD-PAL
                                                 )
 8   vs.                                         )                               ORDER
                                                 )
 9   ALBERT LAFARGA-CRUZ,                        )                  (Mot Compel Transport - Dkt. #26)
                                                 )
10                                 Defendant(s). )
     __________________________________________)
11
12          Before the court is Lafarga-Cruz’s Motion to Compel United States Marshal to Transport
13   Detainee to a Dentist (Dkt. #26). No opposition to the motion has been filed, and the time for filing a
14   response has run.
15          LaFarga-Cruz seeks an order requiring the U.S. Marshal Service to transport him to a dentist to
16   examine him and re-attach crowns/caps which came out during his arrest. He indicates that his
17   crown/caps were placed in his personal property at the Nevada Southern Detention Center. He
18   represents that he has sent numerous complaints to medical staff explaining that he is in pain and
19   suffering, but has been told to talk to his lawyer about it.
20          The court contacted the U.S. Marshal’s Service and requested a response. The USMS
21   investigated and determined that Lafarga-Cruz has been seen by a dentist at the Nevada Southern
22   Detention Center. The dentist has examined Lafarga-Cruz and determined that the teeth underlying the
23   crowns/caps he had are decayed. In the opinion of the dentist, it would be malpractice to replace the
24   crowns/caps over decayed teeth. The dentist has offered to pull the decayed teeth causing the
25   Defendant problems. However, Mr. Lafarga-Cruz has refused.          Rather, Lafarga-Cruz wanted the
26   crowns/caps put back over the decayed teeth. Counsel’s alternative request that Mr. Lafarga-Cruz be
27   evaluated for partial dentures is a cosmetic procedure not covered by the U.S. Marshal Service Medical
28   Policies and Procedures.
         Case 2:13-cr-00085-JAD-PAL         Document 34       Filed 05/13/13   Page 2 of 2



 1          Having reviewed and considered the matter,
 2          IT IS ORDERED that the Motion to Compel the United States Marshal to Transport Detainee
 3   to a Dentist (Dkt. #26) is DENIED.
 4          Dated this 10th day of May, 2013.
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 6                                                       ______________________________________
                                                         Peggy A. Leen
 7                                                       United States Magistrate Judge
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